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                 Jenny L. Flores, et al. v. Merrick Garland, et al.
                      Case No. CV 85-4544-DMG (AGRx)

   Exhibit Index to Plaintiffs’ Motion to Enforce Re Emergency Intake Sites
                                 August 9, 2021

  Exhibit No.                        Exhibit Description
      A       Declaration of Melissa Adamson, Ex. 1, Emergency Intake Site
              Data Summary.
      B       Meet and Confer letter and email correspondence between
              Plaintiffs’ counsel and Defendants’ counsel
      C       Declaration of Dr. Ryan Matlow
      D       Declaration of Jonathan D. Ryan
      E       Declaration of Arthur Pearlstein
      F       Declaration of Lauren Reinhold
      G       Declaration of Laurie Elkin
      H       Declaration of Hannah P. Flamm
       I      Declaration of O.V.P.C.
      J       Declaration of K.M.A.
      K       Declaration of B.U.A.
      L       Declaration of K.A.C.G.
      M       Declaration of W.V.V.
      N       Declaration of A.H.C.
      O       Declaration of M.S.R.L.
      P       Excerpt of K.L.M. Case File
      Q       Declaration of A.F.H.
      R       Declaration of A.R.R.
      S       Declaration of A.G.L.
      T       Declaration of J.F.A.A.
      U       Excerpt of A.P.A. Case File
      V       Declaration of S.C.R.
      W       Excerpt of W.P.L. Case File
      X       Excerpt of M.E.B.C. Case File
      Y       Declaration of O.A.R.H.
      Z       Declaration of M.E.D.C.L.
     AA       Excerpt of M.E.L.A. Case File




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                          Previously Filed Declarations

                          Description                        Docket No.
  Declaration of D.L.M.E.                                     1136-9
  Declaration of E.Y.O.G.                                     1136-8
  Declaration of K.L.M.                                       1136-5
  Declaration of K.M.T.                                       1136-11
  Declaration of F.P.P.                                       1136-4
  Declaration of Y.A.A.V.                                     1136-17
  Declaration of E.A.M.R.                                     1136-6
  Declaration of E.M.E.O.                                     1136-10
  Declaration of G.M.Z.S.                                     1136-12
  Declaration of Melissa Adamson                              1109-2
  Declaration of Melissa Adamson in Support of Plaintiffs’    1136-3
  Response to ORR Juvenile Coordinator’s June 4, 2021
  Interim Report
  Declaration of Leecia Welch                                  1109-1
  Declaration of Y.F.A.G.G.                                    1136-20
  Declaration of A.S.B.A.                                      1136-14
  Declaration of K.E.V.V.                                      1136-21




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